UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA 020 JUL ES PH 3: 47
ORLANDO DIVISION SLERK, US

UNITED STATES OF AMERICA

v. CASE NO. 6:20-cr-97-Orl-31LRH
18 U.S.C. § 2261A(2)
JOEL MICAH GREENBERG 18 U.S.C. § 1028(a)(7)

18 U.S.C. § 1028(a)(1)
18 U.S.C. § 1028A(a)(1)

SUPERSEDING INDICTMENT

The Grand Jury charges:

COUNT ONE
(Stalking)

A. Introduction

At times relevant to this Superseding Indictment:

1. The defendant, JOEL MICAH GREENBERG, was the elected
Tax Collector of Seminole County, Florida, in the Middle District of Florida.
JOEL MICAH GREENBERG used the mail, an interactive computer service,
an electronic communication service, an electronic communication system of
interstate commerce, and a facility of interstate commerce to engage in a course
of conduct that caused, attempted to cause, and would be reasonably expected
to cause substantial emotional distress to a political opponent who worked at a
school located in the Middle District of Florida (referred to herein as the “school

employee”).
2. JOEL MICAH GREENBERG caused letters to be sent by the
United States Mail to the school located in the Middle District of Florida where
the school employee worked. The letters falsely represented that they were
being sent by an anonymous “very concerned student” of the school who had
information that the school employee had engaged in sexual misconduct with a
particular student, when in truth and in fact, as JOEL MICAH GREENBERG
then and there well knew, the allegations were false.

3. JOEL MICAH GREENBERG caused a Twitter account to be set
up using the name and photograph of the school employee. JOEL MICAH
GREENBERG caused postings to be made using that account that represented
that the school employee was a segregationist and in favor of white supremacy,
when in truth and in fact, as JOEL MICAH GREENBERG then and there well
knew, JOEL MICAH GREENBERG caused the Twitter account to be
established without the school employee’s knowledge, consent, or
authorization. The Internet was used to establish the Twitter account and to
make the postings for that account.

A. JOEL MICAH GREENBERG caused a Facebook account to be
set up that claimed to belong to a “very concerned teacher” at the school located
in the Middle District of Florida where the school employee worked. JOEL

MICAH GREENBERG caused postings to be made using that account that
alleged that the school employee had engaged in sexual misconduct with a
student, when in truth and in fact, as JOEL MICAH GREENBERG then and
there well knew, the allegations were false. The Internet was used to establish
the Facebook account and to make the postings for that account.

5. Facebook and Twitter were each an interactive computer service,
an electronic communication service, and an electronic communication system
of interstate commerce. The Internet was a facility of interstate commerce.

B. Course of Conduct

6. Beginning on or about a date unknown to the Grand Jury, but not
later than on or about October 10, 2019, and continuing through and including
on or about November 15, 2019, in the Middle District of Florida, and
elsewhere, the defendant,

JOEL MICAH GREENBERG,

with the intent to harass and intimidate another person, that is, the school
employee, did knowingly use the mail, an interactive computer service, an
electronic communication service, an electronic communication system of
interstate commerce, and a facility of interstate commerce to engage in a course
of conduct that caused, attempted to cause, and would be reasonably expected
to cause substantial emotional distress to a person, that is, the school employee.

In violation of 18 U.S.C. §§ 2261A(2), 2261(b)(5), and 2.
COUNT TWO
(Unlawful Use of Means of Identification of Another Person)

1. The Grand Jury hereby realleges paragraphs one through five of
Count One of this Superseding Indictment and incorporates such paragraphs by
this reference as though fully set forth herein.

2. On or about November 2, 2019, in the Middle District of Florida,
and elsewhere, the defendant,

JOEL MICAH GREENBERG,

did knowingly transfer, possess, and use in and affecting interstate commerce,
without lawful authority, a means of identification of another person,
specifically, the name of the school employee on a Twitter account, knowing
that such means of identification belonged to an actual person, with the intent
to commit, to aid and abet, and in connection with, any unlawful activity that
constitutes a violation of Federal law, namely, a violation of 18 U.S.C. §
2261A(2), as charged in Count One of this Superseding Indictment.

In violation of 18 U.S.C. §§ 1028(a)(7), 1028(b)(2), and 2.
COUNTS THREE AND FOUR
(Production of Identification and False Identification Documents)

A. Introduction

At times relevant to this Superseding Indictment:

1. One of the services provided by some of the branches of the
Seminole County Tax Collector’s Office was the issuance of Florida driver
licenses and Florida identification cards. These services included renewal of
Florida driver licenses and Florida identification cards, replacement of Florida
driver licenses and Florida identification cards, and transfers of out-of-state and
certain out-of-country licenses to Florida.

2. Some customers who came to the Seminole County Tax
Collector’s Office to obtain a Florida driver license would surrender their old or
existing driver licenses to the Seminole County Tax Collector’s Office. The
Seminole County Tax Collector’s Office would shred surrendered driver
licenses at a later time.

3. During the time when he was the Seminole County Tax Collector,
JOEL MICAH GREENBERG used his access to the Seminole County Tax
Collector’s Office to take surrendered driver licenses before they were shredded.
JOEL MICAH GREENBERG used the surrendered driver licenses that he had
taken to cause fake driver licenses to be produced that had his photograph but

the personal information of the victims whose driver licenses he had taken.
B. Productions

4. On or about the dates set forth below, in the Middle District of

Florida, and elsewhere, the defendant,
JOEL MICAH GREENBERG,

did knowingly and without lawful authority produce an identification
document, as defined in 18 U.S.C. § 1028(d)(3), and a false identification
document, as defined in 18 U.S.C. § 1028(d)(4), that is and appears to be a
driver’s license, and the production of which was in and affected interstate and

foreign commerce, as follows:

 

Count | Date Identification Document/

False Identification Document
THREE | On a date unknown to the | Puerto Rico driver’s license with
Grand Jury, but between on or | the defendant’s photograph and
about September 21,2018 and|the name and _ personal
on or about June 23, 2020 information of E.J.C.C.

FOUR | On a date unknown to the | Florida driver’s license with the
Grand Jury, but between on or | defendant’s photograph and the
about December 4, 2019 and | name and personal information of
on or about June 23, 2020 R.Z.

 

 

 

 

 

 

 

In violation of 18 U.S.C. §§ 1028(a)(1), 1028(b)(1), and 2.

COUNTS FIVE AND SIX
(Aggravated Identity Theft)

1. The Grand Jury hereby realleges paragraphs one through three of
Counts Three and Four of this Superseding Indictment and incorporates such

paragraphs by this reference as though fully set forth herein.
2.

On or about the dates set forth below, in the Middle District of

Florida, and elsewhere, the defendant,

JOEL MICAH GREENBERG,

did knowingly transfer, possess, and use, without lawful authority, a means of

identification of another person, specifically, the names and dates of birth of the

actual people identified below, during and in relation to a felony violation of

production without lawful authority of an identification document and a false

identification document, in violation of 18 U.S.C. § 1028(a)(1) as charged in

Counts Three and Four of this Superseding Indictment, knowing that such

means of identification belonged to an actual person, as follows:

 

Count

Date

Means of Identification

 

FIVE

On a date unknown to the
Grand Jury, but between on or
about September 21, 2018 and
on or about June 23, 2020

The name and date of birth of
E.J.C.C.

 

SIX

 

 

On a date unknown to the
Grand Jury, but between on or
about December 4, 2019 and on
or about June 23, 2020

 

The name and date of birth of
R.Z.

 

In violation of 18 U.S.C. §§ 1028A(a)(1) and 2.

1.

FORFEITURE

The allegations contained in Counts Two, Three, and Four are

incorporated by reference for the purpose of alleging forfeitures pursuant to 18

U.S.C. §§ 982(a)(2)(B) and 1028(b)(5).

 
2. Upon conviction of a violation of 18 U.S.C. § 1028, the defendant

shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(2)(B), any

property constituting, or derived from, proceeds obtained, directly or indirectly,

as a result of such violation, and pursuant to 18 U.S.C. § 1028(b)(5), any

personal property used or intended to be used to commit the offense.

3. If any of the property described above, as a result of any act or

omission of the defendant:

a.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third

party;

has been placed beyond the jurisdiction of the court;
has been substantially diminished in value; or

has been commingled with other property which cannot be

divided without difficulty,
the United States shall be entitled to forfeiture of substitute property pursuant .

to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. §§ 982(b)(1) and 1028(g).

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Foreperson

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UNITED STATES DISTRICT COURT
Middle District of Florida
Orlando Division
THE UNITED STATES OF AMERICA

VS.

JOEL MICAH GREENBERG

 

 

SUPERSEDING INDICTMENT
Violations:

18 U.S.C. § 2261A(2)
18 U.S.C. § 1028(a)(7)
18 U.S.C. § 1028(a)(1)
18 U.S.C. § 1028A(a)(1)_.

 

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Foreperson
Filed in open court thig15th day of July, 2020.

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